                                  Case 24-11402-LSS                     Doc 1       Filed 06/23/24           Page 1 of 14


Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Solar Biotech, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          Solar Bioprocessing, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  5516 Industrial Park Road
                                  Norton, VA 24273
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Wise                                                              Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.solarbiotech.com


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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Debtor    Solar Biotech, Inc.                                                                            Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                             Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5417

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
     A debtor who is a “small                Chapter 9
     business debtor” must check             Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                    $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is                                 operations, cash-flow statement, and federal income tax return or if any of these documents do not
     a “small business debtor”)                                    exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second                                         The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     sub-box.
                                                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                             Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8
                                    Yes.
     years?
     If more than 2 cases, attach a
     separate list.                         District                                        When                                  Case number
                                            District                                        When                                  Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
                                            Yes.
    business partner or an
    affiliate of the debtor?


     List all cases. If more than 1,
     attach a separate list                        Debtor     See Schedule 1                                                  Relationship
                                                   District                                 When                              Case number, if known



 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                Case 24-11402-LSS                     Doc 1       Filed 06/23/24            Page 3 of 14
Debtor   Solar Biotech, Inc.                                                                     Case number (if known)
         Name

11. Why is the case filed in    Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal              Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs         Yes.
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No


                                           Yes.        Insurance agency
                                                       Contact name
                                                       Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                 25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                 50,001-100,000
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion



16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 24-11402-LSS                   Doc 1        Filed 06/23/24             Page 4 of 14
Debtor   Solar Biotech, Inc.                                                                       Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      06/23/2024
                                                  MM / DD / YYYY


                             X /s/ Alex Berlin                                                            Alex Berlin
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X /s/ Cheryl A. Santaniello                                                   Date 06/23/2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Cheryl A. Santaniello
                                 Printed name

                                 Porzio, Bromberg & Newman, P.C.
                                 Firm name

                                 300 Delaware Avenue
                                 Wilmington, DE 19801-1607
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-526-1234                  Email address      casantaniello@pbnlaw.com

                                 5062 DE
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                      United States Bankruptcy Court
                                               District of Delaware
 In re   Solar Biotech, Inc.                                                   Case No.
                                                        Debtor(s)              Chapter    11




                                                   Schedule 1

                  Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the "Debtors") filed a petition in the
United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the United
States Code. The Debtors will move for joint administration of these cases under the case number assigned to the
chapter 11 case of Solar Biotech, Inc.

Solar Biotech, Inc.
Noblegen Inc.
                          Case 24-11402-LSS         Doc 1     Filed 06/23/24      Page 6 of 14




                                         United States Bankruptcy Court
                                                   District of Delaware
 In re   Solar Biotech, Inc.                                                         Case No.
                                                            Debtor(s)                Chapter    11




                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

          Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the following is a list of
corporations, other than a government unit, that directly or indirectly own 10% or more of any class of the debtor's equity
interest:




              Equity Holder                    Address of Equity Holder                Percentage of Equity Held
               Alex Berlin                        9428 Macon Road                                75%
                                                  Raleigh, NC 27613
              Ronald Morris                     113 Cupola Chase Way                                 25%
                                                   Cary, NC 27519
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 Fill in this information to identify the case:
 Debtor name Solar Biotech, Inc.
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured
Claims and Are Not Insiders
                                                                                                                                                                           12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 30 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Aerotek, Inc.                                                                                                                                           $24,039.70
 P.O. Box 198531
 Atlanta, GA 30384
 Aggreko                                             Professional Services                                                                               $62,692.71
 4610 West Admiral
 Doyle Drive
 New Iberia, LA 70560
 BDO Canada LLP                                                                                                                                          $30,227.50
 20 Wellington Street
 East, Suite 500
 Toronto, ON M5E 1C5
 Biofors LLC                                         Professional Services                                                                               $257,114.40
 2915 Ogletown Road
 Newark, DE 19713
 Brendan Brazier                                                                                                                                         $125,517.88
 762 8th Street
 Palm Harbor, FL
 34683-4200
 Christian Doppler                                                                                                                                       $78,454.81
 Forschungsgesellschaft
 Boltzmanngasse 20
 1090 Wien
 Osterreich, Austria
 CliftonLarsonAllen                                  Professional Services                                                                               $45,151.60
 LLP
 220 S 6th ST
 STE 300
 Minneapolis, MN
 55402
 DLA Piper                                                                                                                                               $442,378.25
 One Liberty Place
 1650 Market St., Suite
 5000
 Philadelphia, PA
 19103-7301



Official form 204                       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured claims                    page 1
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 Debtor    Solar Biotech, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Federal Economic                                                                                                                                        $50,590.17
 Development Agency
 101-139 Northfield
 Drive West
 Waterloo, Ontario
 Canada N2L 5A6
 Food 4 Thought                                                                                                                                          $195,275.63
 4900 Narcissus Lane-N
 Plymouth, MN 55446
 Intertek                                                                                                                                                $27,056.26
 2233 Argentia Road,
 Suite 201
 Mississauga ON
 Canada L5N 2X7
 James Richardson &                                                                                                                                      $31,073.87
 Sons Limited
 3000 One Lombard
 Place
 Winnipeg, Manitoba
 Canada R3B 0Y1
 TF Research and                                                                                                                                         $101,500.00
 Development, Inc.
 840 Katahdin Way
 Cary, NC 27519
 Kawartha Credit Union                                                                                                                                   $19,714.71
 4 Hunter St E
 Peterborough ON
 Canada K9H 7R8
 Marat Khodoun                                                                                                                                           $226,000.00
 8911 Meadow Drive
 Mason, OH 45040
 McWilliams Brothers                                                                                                                                     $61,103.28
 Holdings Inc.
 712 The Kingsway
 Peterborough Ontario
 Canada K9J 6W6
 Nandkumar Nandu                                                                                                                                         $43,500.00
 Nayar
 6926 Lehigh Court
 Allentown, PA 18106
 Nutrition Sustainability                                                                                                                                $20,354.26
 Strategies LLC
 7901 4th St. N., Suite
 13538
 St. Petersburg, FL
 33702
 PartTime CFO Services                                                                                                                                   $25,312.00
 5115 Oak Hills Rd
 Hamilton Township ON
 K0L1E0




Official form 204                       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured claims                    page 2
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 Debtor    Solar Biotech, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 SAFE, Inc.                                          Professional Services                                                                               $123,040.00
 1350 N Wells St.
 Ste E102
 Chicago, IL 60610
 Separation Guru, LLC                                Professional Services                                                                               $49,096.50
 105 Redhill Rd
 Holly Springs, NC
 27540
 Solidify LLC                                        Professional Services                                                                               $60,000.00
 2212 Boiling Springs
 Rd
 Boiling Springs, SC
 29316
 Solinox (AES)                                                                                                                                           $247,759.00
 150 Chevrefils,
 Saint-Rémi (Québec)
 Canada J0L 2L0
 Stellaria                                                                                                                                               $25,000.00
 459 Albertus Avenue
 Peterborough Ontario
 Canada K9J 5Z9
 The Kendall Group Inc.                              Electrical Supplies                                                                                 $28,849.44
 5101 S Sprinkle Road                                and Services
 Portage, MI 49002
 Trent University                                                                                                                                        $70,051.06
 2140 E Bank Dr
 Peterborough, ON
 Canada K9L 1Z8
 Troutman Pepper                                                                                                                                         $146,078.86
 Union Trust Building
 501 Grant Street, Suite
 300
 Pittsburgh PA
 15219-4429
 Wells Fargo Equipment                               Netsuite Financing                                                                                  $41,115.34
 Finance, Inc.
 PO Box 3072
 Cedar Rapids, IA
 52406-3072
 Wildeboer Dellelce LLP                                                                                                                                  $44,980.48
 in Trust
 365 Bay Street, Suite
 800
 Toronto, ON
 Canada M5H 2V1
 Young America Capital                               Professional Services                                                                               $42,964.88
 141 E Boston Post Rd
 Mamaroneck, NY
 10543




Official form 204                       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured claims                    page 3
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Fill in this information to identify the case:

Debtor name         Solar Biotech, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 23, 2024                   X /s/ Alex Berlin
                                                           Signature of individual signing on behalf of debtor

                                                            Alex Berlin
                                                            Printed name

                                                            Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                            Case 24-11402-LSS           Doc 1      Filed 06/23/24   Page 11 of 14




                                           UNANIMOUS WRITTEN CONSENT
                                           OF THE BOARD OF DIRECTORS OF
                                                SOLAR BIOTECH, INC.
                                                IN LIEU OF MEETING

                                                             June 23, 2024

                    The undersigned, being all of the members of the board of directors (the “Board”) of SOLAR
            BIOTECH, INC. , a Delaware corporation (the “Company”), acting without a meeting and pursuant
            to Section 141(f) of the General Corporation Law of the State of Delaware, by this unanimous written
            instrument (this “Consent”), hereby takes the following actions and adopts the following resolutions
            set forth below on behalf of the Company. The resolutions adopted and the actions taken by this
            Consent shall have the same force and effect that such resolutions and actions would have if they
            were adopted and taken at a duly called and convened meeting of the Board.

                   WHEREAS, the Board has reviewed and considered historical performance and results of
            the Company, its current and future liquidity needs, its business prospects, and its current and
            longterm liabilities;

                   WHEREAS, the Company is the sole shareholder of Noblegen Inc, which has also
            determined to pursue relief under the provisions of chapter 11 of Title 11 of the United States
            Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”); and

                 WHEREAS, the Board has determined that it is advisable and in the best interests of the
            Company to pursue relief under the Bankruptcy Code.

                      NOW, THEREFORE, BE IT:

                      1.     Commencement of Chapter 11 Case

                   RESOLVED, that the Company file, or cause to be filed, a voluntary petition for relief
            under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of
            Delaware (the “Bankruptcy Court”) and perform any and all such acts as are reasonable,
            advisable, expedient, convenient, proper or necessary to effect the foregoing; and it is further

                    RESOLVED, that Ken Yager of Newpoint Advisors Corporation is appointed as the Chief
            Restructuring Officer of the Company (the “CRO”), and that each of the CRO and Alex Berlin, CEO
            of the Company (each, an “Authorized Person” and collectively, the “Authorized Persons”), acting
            singly or jointly, be, and hereby is, authorized, empowered, and directed, with full power of
            delegation, to negotiate, execute, deliver, and file with the Bankruptcy Court, in the name and on
            behalf of the Company, and under its corporate seal or otherwise, all plans, petitions, schedules,
            statements, motions, lists, applications, pleadings, papers, affidavits, declarations, orders and other
            documents; and it is further



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                    RESOLVED, that the Authorized Persons be, and each of them, acting singly or jointly,
            hereby is, authorized, empowered, and directed, with full power of delegation, in the name and on
            behalf of the Company, to take and perform any and all further acts and deeds that such Authorized
            Person deems necessary, appropriate, or desirable in connection with the Company’s bankruptcy case
            and in furtherance of the restructuring of the Company’s debts and obligations, all as consistent with
            these resolutions and to carry out and put into effect the purposes of these resolutions, and the
            transactions contemplated by these resolutions, their authority thereunto to be evidenced by the
            taking of such actions; and it is further

                      2.     Retention of Advisors

                    RESOLVED, that the following professionals be engaged and retained on behalf of the
            Company: (i) Porzio, Bromberg & Newman, P.C.as general bankruptcy counsel; (ii) Newpoint
            Advisors Corporation to provide Ken Yager to serve as the CRO and provide personnel in support
            of the CRO; (iii) Newpoint Advisors Corporation as financial advisors/sales agent; and (iv) Epic
            Corporate Restructuring, LLC as claims and noticing agent; each to represent and assist the
            Company in carrying out its duties and responsibilities under the Bankruptcy Code and applicable
            law, and to take any and all actions to advance the Company’s rights and interests (including,
            without limitation, the law firms filing any pleadings and responses, and making any filings with
            regulatory agencies or other governmental authorities); and it is further

                     RESOLVED, that the Authorized Persons be, and each of them, acting singly or jointly,
            hereby is, authorized, directed and empowered, on behalf of and in the name of the Company, to
            execute appropriate retention agreements with and pay appropriate retainers to the foregoing
            professionals and such other professionals as they deem necessary, appropriate or desirable, upon
            such terms and conditions as they shall approve, to render services to the Company, and to cause
            to be filed appropriate applications for authority to retain the services of such professionals; and it
            is further

                      3.     Financing

                    RESOLVED that the Authorized Persons be, and each of them, acting singly or jointly,
            hereby is, authorized, directed and empowered, on behalf of and in the name of the Company, to
            negotiate and obtain postpetition financing and/or use of cash collateral, including under one or more
            debtor-in-possession credit facilities, as such Authorized Person deems necessary, appropriate, or
            desirable in connection with the Company’s bankruptcy case and to carry out and put into effect the
            purposes of these resolutions; and to enter into any guarantees and to pledge and grant liens on the
            Company’s assets in support of such financing, and in connection therewith to execute appropriate
            loan agreements and related ancillary documents; with the actions of the Authorized Persons taken
            pursuant to this resolution, including the execution, acknowledgement, delivery and verification of
            all such financing related documents, being deemed conclusive evidence of the approval and the
            necessity, desirability or appropriateness thereof; and it is further

                    RESOLVED that the Authorized Persons be, and each of them, acting singly or jointly,
            hereby is, authorized, directed and empowered, on behalf of and in the name of the Company, to
            take all such further actions, including, without limitation, to pay or approve the payment of all
            fees and expenses payable in connection with any such financing transaction(s) and all fees and


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            expenses incurred by or on behalf of the Company in connection with these resolutions, in
            accordance with the terms of any financing related documents, which shall in its sole judgment be
            necessary, appropriate, or desirable to perform any of the Company’s obligations under or in
            connection with such financing arrangements and to carry out fully the intent of these resolutions;
            and it is further

                      4.     General

                    RESOLVED, that the Authorized Persons, be, and each of them, acting singly or jointly,
            hereby is, authorized, directed and empowered, on behalf of and in the name of the Company,
            authorized, empowered, and directed, with full power of delegation, in the name and on behalf of
            the Company, to take and perform any and all further acts or deeds, including (a) the negotiation
            of such additional agreements, amendments, modifications, supplements, consents, waivers,
            reports, documents, instruments, applications, notes or certificates not now known but which may
            be required, (b) the execution, delivery, performance and filing (if applicable) of any of the
            foregoing, and (c) the payment of all fees, consent payments, taxes, indemnities and other
            expenses, as any such Authorized Person, in his or her sole discretion, may approve or deem
            necessary, appropriate, or desirable to carry out the intent and accomplish the purposes of the
            foregoing resolutions and the transactions contemplated thereby, all of such actions, executions,
            deliveries, filings, and payments to be conclusive evidence of such approval or that such
            Authorized Person deemed the same to meet such standard; and it is further

                    RESOLVED, that any person dealing with any Authorized Person in connection with any
            of the foregoing matters shall be conclusively entitled to rely upon the authority of such Authorized
            Person and by his or her execution of any document, agreement or instrument, the same to be a
            valid and binding obligation of such Company enforceable in accordance with its terms; and it is
            further

                   RESOLVED, that each Authorized Person is hereby authorized to certify and deliver to
            any person to whom such certification and delivery may be deemed necessary or desirable in the
            opinion of such Authorized Person, a true copy of the foregoing resolutions; and it is further

                     RESOLVED, that all actions heretofore taken, and all agreements, instruments, reports
            and documents executed, delivered or filed through the date hereof, by any Authorized Person of
            the Company in, for and on behalf of the Company, in connection with the matters described in or
            contemplated by the foregoing resolutions, are hereby approved, adopted, ratified and confirmed
            in all respects as the acts and deeds of the Company as of the date such action or actions were
            taken.




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                   The undersigned, being all of the members of the Board of the Company, have executed
            and adopted this Consent as of the date first above written.


                                                                BOARD OF DIRECTORS:



                                                                   ____________________________________
                                                                   ALEX BERLIN


                                                                   ____________________________________
                                                                   RONALD LEW MORRIS


                                                                   ____________________________________
                                                                   VERA MAXIMENKO GUTMAN

                                                                   ____________________________________
                                                                   MICHAEL T. SULLIVAN




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